          USCA Case #22-7063       Document #1969772
                               UNITED STATES COURT OF Filed: 10/19/2022
                                                       APPEALS                                     Page 1 of 1

                                DISTRICT OF COLUMBIA CIRCUIT
                                              333 Constitution Avenue, NW
                                               Washington, DC 20001-2866
                                      Phone: 202-216-7000 | Facsimile: 202-219-8530



 Case Caption: Am. Soc'y for Testing & Materials, et al.

                                     v.                                     Case No: 22-7063
                    Public.Resource.Org, Inc.


                                            ENTRY OF APPEARANCE

The Clerk shall enter my appearance as            Retained       Pro Bono     Appointed (CJA/FPD)          Gov't counsel
for the     Appellant(s)/Petitioner(s)      Appellee(s)/Respondent(s)         Intervenor(s)     Amicus Curiae below:

                                                   Party Information
                 (List each represented party individually - Use an additional blank sheet as necessary)

 Copyright Alliance

 1331 F St NW Suite #950

 Washington DC 20004



                                                  Counsel Information
Lead Counsel: Nancy E. Wolff

                                                                      Email: nwolff@cdas.com
Direct Phone: ( 212 )      497-0940      Fax: ( 212 )    974-8474

2nd Counsel:      Scott J. Sholder

                                                                     Email: ssholder@cdas.com
Direct Phone: ( 212 )      497-0934      Fax: ( 212 )    974-8474

3rd Counsel:

                               -                             -       Email:
Direct Phone: (        )                 Fax: (      )
Firm Name:       Cowan DeBaets Abrahams & Sheppard LLP

Firm Address: 41 Madison Ave, New York, NY 10010

                                                                     Email: nwolff@cdas.com
Firm Phone: ( 212 ) 974-7474 Fax: ( 212 ) 974-8474

Notes: This form must be submitted by a member of the Bar of the U.S. Court of Appeals for the D.C. Circuit.
Names of non-member attorneys listed above will not be entered on the court's docket. Applications for
admission are available on the court's web site at http://www.cadc.uscourts.gov/.

USCA Form 44
March 2017 (REVISED)
